Case 2:04-cv-02928-.]DB-dkv Document 35 Filed 07/08/05 Page 1 of 6 Page|D 35

IN THE UNITED STATES DlSTRlcT COURT FOR THE WESTERN I)IST§[ELI`B§F?B"“ D`C'
TENNESSEE WESTERN DIVISION 95 JUL -3 pH l,. oh

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MARTHA OWENS, as next friend of
IDA TAYLOR, deceased, and on
behalf cf the Wrongful death beneficiaries
of lDA TAYLOR,

Plaintiff, NO. 2:04-cv-02928-JDB-dkv
Jury Dernanded
V.

)
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)
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)
)
KINDRED HEALTHCARE SERVICES, )
INC.; KINDRED HEALTHCARE )
OPERATING, INC.; KINDRED )
NURSING CENTERS LIMITED )
PARTNERSHIP d/b/a SPRING GATE )
REHABILITATlON AND )
HEALTHCARE CENTER; RENEE' B. )
'l`UTOR, in her capacity as Administratcr )
cf SPRING GATE REHABILITATION )
AND HEALTHCARE CENTER', )
DEBORAH ANNE HANSBROUGH, )
in her capacity as Administrator of SPRING )
GATE REHABlLITATION AND )

HEALTHCARE CENTER; and ANGELA )
KAYE MCCOLLOUGH, in her capacity )
as Adrninistratcr of SPRING GATE )
REHABIL[TATION AND )
HEALTHCARE CENTER )
)

Defendants. )

ORDER GRANTING DEFENDANTS' MOTION FOR ADDITIONAL TlME TO
RESPOND TO PLAINTIFF'S SUPPLEMENTAL
REQUESTS F()R PRODUCTION OF DOCUMENTS
On Mction cf Defendants, and for good cause shown, it is hereby, ORDERED,
ADJUDGED and DECREED that Defendants‘ Moticn for Additional Time to Respond to

Plaintii`t`s Supplernental Requests for Production cf Dccuments is GRANTED.

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Case 2:04-cv-02928-.]DB-dkv Document 35 Filed 07/08/05 Page 2 of 6 Page|D 36

Defendants are, therefore, entitled to an additional forty-five (45) days, over and above
the thirty (30) days provided by the Federal Rules ofCivil Procedure, to respond to Plaintift`s

Supplernental Requests for Production of Docurnents.

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ENTEREDrhiS § day af Wr ,2005.

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Respectfully submitted,

CHAMBL!SS, BAHNER & STOPHEL, P.C.

By: '3;_¢§, C,, pub UJ/B‘/ 595

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Jacob C. Parker, BPR No. 023993
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Telephone No.: (423) 756-3000
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Attomey.sfbr Defendants

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CERTIFICATE OF SERVICE
l, the undersigned attorney, do hereby certify that the foregoing document has been
delivered to all counsel for parties in this cause by placing a true and correct copy of same in the
United States mail, postage prepaid, in a properly addressed envelope as follows:
Carneron C. .lehl, Esq.
Wilkes & McHugh, P.A.

425 W. Capitol Street, Suite 2500
Little Rock, Arkansas 72201

This l day of Twel/\/\

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 35 in
case 2:04-CV-02928 Was distributed by faX, mail, or direct printing on
July l 1, 2005 to the parties listed.

ESSEE

 

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.lacob C. Parker

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Honorable .l. Breen
US DISTRICT COURT

